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     February 13, 2025                                                                                  File No. 54268.03


     VIA ECF
     Hon. Jennifer E. Willis
     United States District Court
     Southern District of New York
     40 Foley Square
     New York, New York 10007

              RE:     Charles v. Pinnacle Too, LLC, et al.
                      No. 22-CV-4232 (DEH)(JW)

     Dear Judge Willis:

            We represent Defendants Pinnacle Too, LLC, Agir Electrical, LTD, and Antony Gironta (the
     “Pinnacle Defendants”) in the above-referenced matter. Please accept this correspondence as the
     Pinnacle Defendants’ response to Plaintiff’s letter dated February 12, 2025. (Dkt. No. 173).

             On February 12, 2025, we submitted an application to withdraw as counsel for the Pinnacle
     Defendants and requested that the case be stayed for 45 days so that the Pinnacle Defendants have
     the opportunity to obtain new counsel. (Dkt. Nos. 170-172). Plaintiff’s counsel, C.K. Lee, does not
     oppose such application; however, he requests that he be permitted to distribute class notices during
     this period. The Pinnacle Defendants’ position remains that the case should be fully stayed and no
     action should be taken until new counsel is obtained. If the Court grants our application for
     withdrawal, the Pinnacle Defendants would be prejudiced if they are unrepresented during this
     process and any further action would be more appropriately handled by incoming counsel. As such,
     Plaintiff’s request should be denied.

             We are available to further discuss at March 17th conference. We thank the Court for its time
     and attention to this matter.

                                                           Respectfully,

                                                            /s/ Simi Bhutani

                                                           Simi Bhutani of
                                                           LEWIS BRISBOIS BISGAARD & SMITH LLP
     cc: All counsel of record (via ECF)


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